Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32563 Page 1 of 6
Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32564 Page 2 of 6
Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32565 Page 3 of 6
Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32566 Page 4 of 6
Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32567 Page 5 of 6
Case 2:13-cr-00008-WFN   ECF No. 4092   filed 04/21/16   PageID.32568 Page 6 of 6
